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                IN THE UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF VIRGINIA




Jerry Lee Hairston,pro se
Virginia Center for Behavioral
Rehabilitation (VCBR)
4901 E- Patrick Henry Hwy.
Burkeville, Virginia 23922
Plaintiff

V.
                                                     Case §


Jason Wilson,Director of VCBR
4901 E. Patrick Henry Hwy.
Burkeville, Virginia 23922
Defendant

Anita Schlanck,Clinical Director of VCBR
4901 E. Patrick Henry Hwy.
Burkeville, Virginia 23922
Defendant


Royace Baugh,Director of Resident Services for VCBR
4901 E. Patrick Henry Hwy.
Burkeville, Virginia 23922
Defendant


Brittany Pride,Safety Security. Treatment Technican for VCBR
4901 E. Patrick Henry Hwy-
Burkeville, Virginia 23922
Defendant

Sarah Webster,Therapist/Supervisor for VCBR
4901 E. Patrick Henry Hwy,
Burkeville, Virginia 23922
Defendant

Omar Higgins,Therapist of VCBR
4901 E. Patrick Henry Hwy.
Burkeville, Virginia 23922                                               ,WE
Defendant
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